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                                   Azuraye Wycoff
                                    June 23, 2021

  · · · · · · · IN THE UNITED STATES DISTRICT COURT
  · · · · · · · · · FOR THE DISTRICT OF COLORADO
  ·
  · · Civil Action No. 1:20-cv-03242-KLM
  · · _______________________________________________________

  · · · · · · · · · · VIDEOTAPE DEPOSITION OF:
  · · · · · · · · ·AZURAYE WYCOFF - June 23, 2021
  · · · · · · · · · · · · (via RemoteDepo)
  · · _______________________________________________________
  ·
  · · MIDLAB, INC., a Tennessee Corporation,
  ·
  · · Plaintiff,
  ·
  · · v.
  ·
  · · ZAP! PRODUCTS, INC., a Colorado Corporation;
  · · MERRIE PISANO WYCOFF, individually and as trustee of
  · · The Wycoff Family Trust; WYCOFF FINANCIAL, LLC, a
  · · Colorado Limited Liability Company; MAGNUS VERITAS
  · · LLC, a Colorado Limited Liability Company; and
  · · GCS452, LLC, a Colorado Limited Liability Company,

  · · Defendants.
  · · _______________________________________________________
  ·

  · · · · · · · · ·PURSUANT TO NOTICE, the videotape
  · · deposition of AZURAYE WYCOFF was taken on behalf of the
  · · Plaintiff in Denver County, Colorado, by remote means,
  · · on June 23, 2021, at 9:03 a.m. MDT, before Gail
  · · Obermeyer, Registered Professional Reporter and Notary
  · · Public within Colorado, appearing remotely from Douglas
  · · County, Colorado.

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                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· I think we can take a break.

  ·2· · · · · · · ·THE DEPONENT:· Yeah.

  ·3· · · · · Q.· ·(BY MR. GOLDHAMER)· Between August 2018

  ·4· and August 2019, do you have a recollection of how much

  ·5· time you spent in the truck doing manual labor and

  ·6· moving, sort of approximately how many hours a week?

  ·7· · · · · A.· ·Probably somewhere between 20 and 30.

  ·8· · · · · Q.· ·And then how much time did you spend with

  ·9· the administrative W-2 types of work?

  10· · · · · A.· ·W-2 work was probably -- probably around

  11· 30 hours, I'd say, on average, a week.

  12· · · · · Q.· ·And besides the jobs that we've talked

  13· about, between your college graduation and now, do you

  14· have any other W-2 or 1099 jobs or income between then

  15· and the present?

  16· · · · · A.· ·Yes.· I worked for ZAP! Products.

  17· · · · · Q.· ·When did you work for ZAP! Products?

  18· · · · · A.· ·Over the last few years, I've helped with

  19· tech setup, system design, and general upkeep that my

  20· family needed assistance with.

  21· · · · · Q.· ·How many hours a week do you think you

  22· worked?

  23· · · · · A.· ·It fluctuated, depending on their needs

  24· and whenever I was able to come home and actually do

  25· the on-ground.· I'd say anywhere between maybe 2 to


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                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· 20 hours, just depending on what they needed help with

  ·2· and when I was available.

  ·3· · · · · Q.· ·Would you only do that work when you came

  ·4· home to Boulder?

  ·5· · · · · A.· ·It depended.· A lot of it could be done

  ·6· over the phone and guiding them.· But when I came home,

  ·7· it was more of the hands-on stuff.

  ·8· · · · · Q.· ·Do you remember what year that started?

  ·9· · · · · A.· ·No, I don't.

  10· · · · · Q.· ·But you think it was over the past few

  11· years, you said?

  12· · · · · A.· ·Yeah; I think, like, officially we made

  13· it.· But I think I've always helped my family with that

  14· kind of stuff.

  15· · · · · Q.· ·So do you think you've been doing that

  16· since 2017?

  17· · · · · A.· ·Oh, I don't recall an exact date.

  18· · · · · Q.· ·How much -- were you an employee or a 1099

  19· contractor?

  20· · · · · A.· ·I was a W-2.

  21· · · · · Q.· ·What was your salary?

  22· · · · · A.· ·$500 a month.· It was pretty nominal.

  23· · · · · Q.· ·And that would just occur every month,

  24· regardless of how much you worked?

  25· · · · · A.· ·Yes.


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                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· · · · · A.· ·I'm not certain, actually.· I think

  ·2· because she opened that account originally, she can

  ·3· access it.· But she doesn't really do anything with

  ·4· that, unless I've asked her to help me with something.

  ·5· · · · · Q.· ·What sort of funds go into that joint

  ·6· account?

  ·7· · · · · A.· ·We had a withdrawal from the trust in

  ·8· order to fund some of the operations.· What did we do

  ·9· with that?· I know there was one time that we

  10· transferred it, and it landed in there.· Mostly, that's

  11· been used to fund my own businesses; that I've moved to

  12· other accounts in order to help get Small Haul up and

  13· running.· I'm pretty much the only person who accesses

  14· that account.

  15· · · · · Q.· ·When do you think the last time you have

  16· accessed that account was?

  17· · · · · A.· ·I don't know.· I check it fairly

  18· frequently.· I've got an app on my phone.

  19· · · · · Q.· ·Do you know what Gusto is?

  20· · · · · A.· ·Yes.· It was a payroll service for ZAP!

  21· Products.

  22· · · · · Q.· ·So who would get paid through the Gusto

  23· Payroll Service for ZAP! Products?

  24· · · · · A.· ·The employees in ZAP!.

  25· · · · · Q.· ·Did you get paid through the Gusto Payroll


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                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· Service --

  ·2· · · · · A.· ·Yes.

  ·3· · · · · Q.· ·-- when you were working for ZAP!?

  ·4· · · · · A.· ·Yes, I did.

  ·5· · · · · Q.· ·Do you know if your mom was paid anything

  ·6· through the Gusto?

  ·7· · · · · A.· ·I'm not sure about that.

  ·8· · · · · Q.· ·Did you get your Gusto payments from ZAP!

  ·9· into the joint youth savings account?

  10· · · · · A.· ·I'm not positive.· I think they may have

  11· gone into the checking account.

  12· · · · · Q.· ·Do you know if your dad got paid anything

  13· through Gusto?

  14· · · · · A.· ·I don't know.

  15· · · · · Q.· ·Did you have any joint accounts with your

  16· dad?

  17· · · · · A.· ·No.

  18· · · · · Q.· ·So can you tell me what the purpose of

  19· maintaining a joint account with your mother is?

  20· · · · · A.· ·I mean, we're a tight-knit family.· If

  21· someone needed something, it was a lot easier to help

  22· with that way.

  23· · · · · Q.· ·And so you'd be willing to help your

  24· family out through the joint account, right?

  25· · · · · A.· ·If there was an explicit request.· My mom


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                                   Azuraye Wycoff
                                    June 23, 2021

  ·1· · · · · · · · · · ·REPORTER'S CERTIFICATE

  ·2· STATE OF COLORADO· · · · ·)
  · · · · · · · · · · · · · · · )· ss.
  ·3· CITY AND COUNTY OF DENVER )

  ·4· · · · · · · ·I, GAIL OBERMEYER, Registered Professional
  · · Reporter and Notary Public ID 19994012647, State of
  ·5· Colorado, do hereby certify that previous to the
  · · commencement of the examination, the said AZURAYE
  ·6· WYCOFF verbally declared her testimony in this matter
  · · is under penalty of perjury; that the said deposition
  ·7· was taken in machine shorthand by me at the time and
  · · place aforesaid and was thereafter reduced to
  ·8· typewritten form; that the foregoing is a true
  · · transcript of the questions asked, testimony given, and
  ·9· proceedings had.

  10· · · · · · · ·I further certify that I am not employed
  · · by, related to, nor of counsel for any of the parties
  11· herein, nor otherwise interested in the outcome of this
  · · litigation.
  12
  · · · · · · · · ·IN WITNESS WHEREOF, I have affixed my
  13· signature this 1st day of July, 2021.

  14· · · · · · · ·My commission expires May 20, 2023.

  15
  · · · · · · · · ·_____________________________________
  16· · · · · · · ·Gail Obermeyer, RPR
  · · · · · · · · ·Registered Professional Reporter
  17· · · · · · · ·Notary Public, State of Colorado

  18

  19

  20· __X__ Reading and Signing was requested.

  21· _____ Reading and Signing was waived.

  22· _____ Reading and Signing is not required.

  23

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                                   August 25, 2021

 · · · · · · · IN THE UNITED STATES DISTRICT COURT
 · · · · · · · · · FOR THE DISTRICT OF COLORADO
 ·
 · · ·Civil Action No. 1:20-cv-03142-DDD-KLM
 · · ·______________________________________________________

 · · ·VIDEOTAPE DEPOSITION OF:· AZURAYE WYCOFF - Volume II
 · · · · · · · · · · · · · · · ·August 25, 2021
 · · · · · · · · · · · · · · · ·(Via RemoteDepo)
 · · ·______________________________________________________
 ·
 · · ·MIDLAB, INC., a Tennessee Corporation,
 ·
 · · ·Plaintiff,
 ·
 · · ·v.
 ·
 · · ·MERRIE PISANO WYCOFF individually and as trustee of
 · · ·The Wycoff Family Trust; WYCOFF FINANCIAL, LLC, a
 · · ·Colorado Limited Liability Company; MAGNUS VERITAS
 · · ·LLC, a Colorado Limited Liability Company; and GCS452,
 · · ·a Colorado Limited Liability Company,
 ·
 · · ·Defendants.
 · · ·______________________________________________________

 ·
 · · · · · · · · · PURSUANT TO NOTICE, the videotape
 · · ·deposition of AZURAYE WYCOFF was continued on behalf
 · · ·of the Plaintiff in Longmont, Colorado, via remote
 · · ·means, on August 25, 2021, at 12:58 p.m., before
 · · ·Tiffany D. Goulding, Registered Professional Reporter
 · · ·and Notary Public within Colorado, appearing remotely
 · · ·from Arapahoe County, Colorado.
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                                   August 25, 2021

 ·1· ·Zap! Products was a party to?

 ·2· · · · · ·A.· ·No.

 ·3· · · · · ·Q.· ·Have you been involved in any discussions

 ·4· ·about paying any of Zap! Products creditors?

 ·5· · · · · ·A.· ·This is the ultimate discussion of that,

 ·6· ·but otherwise no.

 ·7· · · · · ·Q.· ·By "this" you mean this lawsuit?

 ·8· · · · · ·A.· ·Yeah.

 ·9· · · · · ·Q.· ·So what's your understanding of paying

 10· ·Zap! Products creditors in connection with this

 11· ·lawsuit?

 12· · · · · ·A.· ·What's my understanding of paying?

 13· · · · · ·Q.· ·Yes.

 14· · · · · ·A.· ·I don't know.· It sounds like there is a

 15· ·belief that the money that was given to me and my

 16· ·sister is owed to creditors that my dad made

 17· ·agreements with, which I don't think is accurate.

 18· · · · · ·Q.· ·Have you ever signed any agreements or

 19· ·resolutions on behalf of Zap! Products?

 20· · · · · ·A.· ·It's not my company.· I don't think I'd

 21· ·be authorized to do that.

 22· · · · · ·Q.· ·So that's a no, you can't recall ever

 23· ·doing that?

 24· · · · · ·A.· ·Not that I can recall.

 25· · · · · ·Q.· ·When is the last time that your sister


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                                   August 25, 2021

 ·1· ·Devon, to your knowledge, has worked for a salary?

 ·2· · · · · ·A.· ·You mean, like, a W-2 employee of a

 ·3· ·company?

 ·4· · · · · ·Q.· ·Yeah.

 ·5· · · · · ·A.· ·I don't know.· I don't really know her

 ·6· ·work history that deeply.

 ·7· · · · · ·Q.· ·Does Devon work for Zap!?

 ·8· · · · · ·A.· ·I believe she was employed for some time

 ·9· ·helping out with design filing.· She lived here for a

 10· ·good chunk of time.· I'm not totally sure of the

 11· ·circumstances.

 12· · · · · ·Q.· ·Do you know when your sister Devon worked

 13· ·for Zap!?

 14· · · · · ·A.· ·I do not.

 15· · · · · ·Q.· ·Did you have the impression that your

 16· ·sister Devon understood the structure of the

 17· ·transactions for the house and farm sale?

 18· · · · · ·A.· ·Yeah.· You'll see record of that in the

 19· ·text messages.· She was paying attention.· She was

 20· ·involved before her really bad head injury, but, I

 21· ·mean, yeah, she was overwhelmed with it but

 22· ·understood -- I mean, she understood that we were

 23· ·selling these assets to ourselves so that we could pay

 24· ·off a loan for my dad.

 25· · · · · ·Q.· ·You said "text messages."· Do you mean


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                                   August 25, 2021

·1· · · · · · · · · ·REPORTER'S CERTIFICATE

·2· ·STATE OF COLORADO· · · · · )
· · · · · · · · · · · · · · · · ) ss.
·3· ·COUNTY OF ARAPAHOE· · · · ·)

·4· · · · · · · · I, TIFFANY D. GOULDING, Registered
· · ·Professional Reporter and Notary Public ID No.
·5· ·19984028637, State of Colorado, do hereby certify that
· · ·previous to the commencement of the examination, the
·6· ·said AZURAYE WYCOFF verbally declared that her
· · ·testimony is under the penalty of perjury in relation
·7· ·to the matters in controversy between the parties
· · ·hereto; that the said deposition was taken in machine
·8· ·shorthand by me at the time and place aforesaid and
· · ·was thereafter reduced to typewritten form; that the
·9· ·foregoing is a true transcript of the questions asked,
· · ·testimony given, and proceedings had.
10
· · · · · · · · · I further certify that I am not employed
11· ·by, related to, nor of counsel for any of the parties
· · ·herein, nor otherwise interested in the outcome of
12· ·this litigation.

13· · · · · · · · IN WITNESS WHEREOF, I have affixed my
· · ·signature this ______ day of ____________________,
14· ·2021.

15· · · · · · · · My commission expires November 4, 2022.

16· ·x____ Reading and Signing was requested.

17· ·_____ Reading and Signing was waived.

18· ·_____ Reading and Signing is not required.

19

20
· · · · · · · · · · · · · ·________________________________
21· · · · · · · · · · · · ·Tiffany Goulding
· · · · · · · · · · · · · ·Registered Professional Reporter
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